           Case 1:16-vv-01379-UNJ Document 30 Filed 12/08/17 Page 1 of 4




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1379V
                                      Filed: April 17, 2017
                                         UNPUBLISHED

****************************
AMY KOMAKI,                            *
                                       *
                   Petitioner,         *     Damages Decision Based on Proffer;
v.                                     *     Prevnar 13 (Pneumococcal Conjugate)
                                       *     Vaccination; Adhesive Capsulitis;
SECRETARY OF HEALTH                    *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
John Robert Howie, Jr., Howie Law, PC, Dallas, TX, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

      On October 21, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) and adhesive capsulitis as a result of her November 20, 2015
Prevnar 13 (pneumococcal conjugate) vaccination. Petition at 1, ¶¶ 6, 15. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On March 13, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for left-side adhesive capsulitis. On April 17, 2017, respondent filed a
proffer on award of compensation (“Proffer”) indicating petitioner should be awarded
$100,425.36. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-01379-UNJ Document 30 Filed 12/08/17 Page 2 of 4



       Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $100,425.36 in the form of a check payable to
petitioner, Amy Komaki. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
         Case 1:16-vv-01379-UNJ Document 30 Filed 12/08/17 Page 3 of 4



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

************************** * *
                              *
AMY KOMAKI,                   *
              Petitioner,     *
                              *
v.                            *                             No. 16-1379V (ECF)
                             *                              CHIEF SPECIAL MASTER
                              *                             NORA BETH DORSEY
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
              Respondent.     *
*****************************

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       In her March 13, 2017 Ruling on Entitlement, the Chief Special Master found that a

preponderance of the medical evidence indicates that petitioner suffered a shoulder injury related

to vaccine administration (“SIRVA”), which was causally related to the Prevnar 13 vaccination

she received on November 20, 2015. The parties have now addressed the amount of

compensation to be awarded in this case.

I.     Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a total lump sum of $100,425.36, which amount represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering, and the parties reserve the
right to move the Court for appropriate relief.
         Case 1:16-vv-01379-UNJ Document 30 Filed 12/08/17 Page 4 of 4



II.    Form of the Award

       Petitioner is a competent adult. Accordingly, the parties recommend that the

compensation provided should be made through a lump sum payment in the form of a check for

$100,425.36, payable to petitioner.


                                            Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General
                                            Civil Division

                                            C. SALVATORE D’ALESSIO
                                            Acting Director
                                            Torts Branch, Civil Division

                                            CATHARINE E. REEVES
                                            Deputy Director
                                            Torts Branch, Civil Division

                                            MICHAEL P. MILMOE
                                            Senior Trial Counsel
                                            Torts Branch, Civil Division

                                            /s/ DOUGLAS ROSS
                                            DOUGLAS ROSS
                                            Trial Attorney
                                            Torts Branch, Civil Division
                                            U.S. Department of Justice
                                            P.O. Box 146, Benjamin Franklin Station
                                            Washington, D.C. 20044-0146
                                            Tel.: (202) 616-3667

DATE: April 17, 2017




                                               2
